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                IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                             EASTERN DIVISION

HEATHER SCHULTZE and                        )
ROBERT SCHULTZE,                            )
                                            )
      Plaintiffs,                           )
                                            )
v.                                          )   CASE NO. 3:18-CV-453-SMD
                                            )
WAL-MART, INC.,                             )
                                            )
      Defendant.                            )


                                 FINAL JUDGMENT

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), Plaintiffs Heather and

Robert Schultze and Defendant Wal-Mart, Inc. have filed a Joint Stipulation of Dismissal

(Doc. 24). Accordingly, it is the ORDER, JUDGMENT and DECREE of the Court that

this case is DISMISSED with prejudice as to all Defendants with each party to bear their

own costs and attorney’s fees. No costs are taxed.

      The Clerk is DIRECTED to enter this document on the civil docket as a Final

Judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure.

      DONE this 9th day of July, 2019.



                                            /s/ Stephen M. Doyle
                                            UNITED STATES MAGISTRATE JUDGE
